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              The Honorable Kimba M. Wood
              United States District Judge
              Southern District of New York
              500 Pearl Street
                                                                                           MEMO ENDORSED
              New York, New York 10007

              Re:        United States v. Abreu, et al., 19 Cr. 821 (KMW)

              Dear Judge Wood:

                      The Government respectfully writes with the consent of counsel for all defendants to
              provide a status update to the Court and to request an adjournment of the next status conference in
              this case. Discovery is currently complete and plea offers have been extended to all defendants.
              The next scheduled conference is currently set for November 12, 2020. In light of the current
              public health situation, the parties respectfully request that the conference be adjourned to a date
              convenient for the Court. The parties further request that the time between November 12, 2020
              and the date of the next conference be excluded under the Speedy Trial Act, 18 U.S.C. §
              3161 (h)(7)(A), in the interest of justice, both in light of the current health situation and so that the
              parties can continue their plea discussions.

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                                                                 Acting United States Attorney
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                                                           by:      /s/
                                                                 Celia V. Cohen
                                                                 Assistant United States Attorney
                                                                 (212) 637-2466




                                                                            SO ORDERED:                N.Y., N.Y.   / ! ( 4 ( 2-~

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                                                                                  KIMBA M. WOOD
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